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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA

                          CASE NO: 8:21-cv-02577-WFJ-AEP

 MARK KOPLAU,

       Plaintiff,

              v.

 DA FAMILY BUSINESS, LLC, a
 Florida limited liability company d/b/a
 ITALIANOS; TOMATOES & OLIVE
 OIL, LLC, a Florida limited liability
 Company d/b/a ITALIANOS; and
 MORGAN GLICKMAN,

       Defendants.
 __________________________________/

                SETTLEMENT AGREEMENT AND RELEASE OF
                   FAIR LABOR STANDARDS ACT CLAIMS

       THIS SETTLEMENT AGREEMENT AND RELEASE OF FLSA CLAIMS

 (“Agreement”) is made by and between Plaintiff, MARK KOPLAU, and Defendants,

 DA FAMILY BUSINESS, LLC, TOMATOES & OLIVE OIL, LLC, and MORGAN

 GLICKMAN (all together the “Parties” and individually “Party”).

       WHEREAS, Plaintiff filed the above-referenced case for unpaid overtime

 compensation pursuant to the Fair Labor Standards Act of 1938, 29 §201, et seq.

 (“FLSA”) and Florida statutes.

       WHEREAS, Defendants deny the relief sought and liability alleged by the

 claims asserted by the Plaintiff; and



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       WHEREAS, Plaintiff and Defendants wish to avoid additional prolonged

 litigation and settle and resolve the controversy between them amicably and

 expeditiously;

       NOW, THEREFORE, in consideration of the mutual covenants set forth

 herein and other good and valuable consideration, the receipt and sufficiency of which

 are hereby acknowledged, it is hereby

       STIPULATED AND AGREED by and between the undersigned Parties that

 the above-styled case is hereby resolved as follows:

       1.     RECITALS. The foregoing recitals are true and correct and are

 incorporated herein by this reference.

       2.     RELEASE OF FAIR LABOR STANDARD ACT CLAIMS.

              a.     This Agreement shall constitute a settlement, waiver and release

       of overtime and minimum wage claims Plaintiff might have under the FLSA or

       any other state or local law with respect to the payment of overtime wages.

              b.     Upon execution of this Agreement, the Parties shall immediately

       file the Joint Motion for Approval of Settlement and Dismissal with Prejudice

       with the Court, attached hereto as Exhibit “A.”

              c.     In consideration for the payments described in Paragraph 3 below,

       Plaintiff hereby knowingly and voluntarily releases Defendants of and from all

       claims brought for overtime compensation under the Fair Labor Standards Act

       and Florida statutes.



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       3.      CONSIDERATION.

       The Defendants agree to pay Plaintiff and his counsel the total sum of

 $16,000.00 (the “Settlement Sum”)(comprising $4,900 to the Plaintiff as wages; $4,900

 to the Plaintiff as liquidated damages; and, separately, $6,200 to Plaintiff’s counsel as

 attorneys’ fees and costs) in two installments, as follows:

            A. Installment # 1: Installment # 1 shall be delivered in two (2) checks, to

               Bober & Bober, P.A., 2699 Stirling Road, Suite A-304, Hollywood, FL

               33312 by not later than May 13, 2022, as follows:

                  Check # 1 to “Mark Koplau” for $4,900.00 as wages, for which

            Defendants shall make taxable withholdings at the lawful and customary

            rate, and issue a W-2;

                  Check # 2 to “Bober & Bober, P.A.” for $5,100.00 as attorney’s fees

            and costs, for which Defendants shall issue a tax form 1099.

            B. Installment # 2: Installment # 2 shall be delivered in two (2) checks, to

              Bober & Bober, P.A., 2699 Stirling Road, Suite A-304, Hollywood, FL

              33312 by not later than June 6, 2022), as follows:


                  Check # 1 to “Mark Koplau” for $4,900.00 as liquidated damages, for

                  which Defendants shall ssue a form 1099;

                  Check # 2 to “Bober & Bober, P.A.” for $1,100 as attorney’s fees and

                  costs, for which Defendants shall issue a tax form 1099.

       Time is of the essence. If the Defendants fail to timely pay an installment,



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 Plaintiff shall provide notice to Defendants’ counsel and a right to cure; if not cured in

 three (3) business days, the Plaintiff will be entitled to an unopposed self-executing

 default final judgment in the amount of $21,000, less any amounts paid. Payment of

 the Settlement Sum is in full settlement of any and all FLSA claims of any kind,

 including unpaid wages and overtime compensation, liquidated damages, and/or

 attorneys’ fees and costs.

       The Parties agree and acknowledge that the amount paid to the Plaintiff was

 agreed to and negotiated separately from the amount paid herein for attorneys’ fees

 and costs. Plaintiff understands and acknowledges that he would not receive the

 payments specified in this paragraph, except for his execution of this Agreement,

 including the release of his FLSA claims contained herein, and his fulfillment of the

 promises contained herein.

        Should the Defendants fail to timely pay the settlement sums herein, the

 Plaintiff will be entitled to reasonable attorneys’ fees and costs related to the

 enforcement and collection of the Defendants’ payment obligations, hereunder.

       4.     NO ADMISSION. Neither this Agreement, nor the furnishing of the

 consideration for this Agreement, shall be deemed or construed at any time, for any

 purpose, as an admission by the Defendants of any liability, unlawful conduct of any

 kind, or violation by the Defendants of the FLSA or Florida Statutes.

       5.     OPPORTUNITY TO REVIEW.                     Plaintiff acknowledges he is

 aware that he is giving up the overtime and minimum wage FLSA and Florida Statutes



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 claims he may have against the Defendants. Plaintiff acknowledges he has been

 advised in writing to consult with an attorney and has had the opportunity to seek legal

 advice before executing this Agreement. In fact, Plaintiff acknowledges that he has

 consulted with his counsel-of-record, Peter Bober, Esq., prior to executing this

 Agreement. Plaintiff signs this Agreement voluntarily.

       5.     SEVERABILITY. Except as set forth below, should any provision of this

 Agreement set forth herein be declared illegal or unenforceable by any court of

 competent jurisdiction, such that it cannot be modified to be enforceable, excluding

 the release language and the payment obligations set forth above, such provision shall

 immediately become null and void, leaving the remainder of this Agreement in full

 force and effect.

       6.     VENUE AND GOVERNING LAW. This Agreement shall be governed

 by the laws of the State of Florida without regard to its conflict of laws provisions.

       7.     RELEASE OF FLSA CLAIMS

       The Plaintiff releases all claims which arise under the FLSA. This Agreement

 sets forth the entire agreement between Plaintiff and Defendants as to settlement of the

 Plaintiff’s FLSA claims.

       THE SIGNATORIES HAVE CAREFULLY READ THIS ENTIRE

 SETTLEMENT AGREEMENT AND RELEASE OF FLSA CLAIMS. THE

 PLAINTIFF HAS BEEN REPRESENTED BY COUNSEL THROUGHOUT THE

 NEGOTIATION OF THIS AGREEMENT AND HAS CONSULTED WITH HIS



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